Case 1:22-cv-05385-EK-LB Document 5 Filed 09/28/22 Page 1 of 1 PageID #: 75
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                       X

LUCIO CELLI,

                         Petitioner,              U.S. DlsTR^rr^'^ ophc'       ORDER
                   i                                   '      court Ei.' -

FEDERAL BUBlEAU OF PRISONS,                   ■
                                                  ^ S£P 28 209?            «
                                                                               22-CV-05385(EK)
CENTRAL OFFICE,                                   BROOKLYN OFFICE
                         Respondent.
                                                       X

ERIC R. KOMITEE, United States District Judge:

         On September 9, 2022, Petitioner Lucio Celli, who is presently incarcerated at the

Federal Medical Center Lexington, filed the instant pro sq petition pursuant to 28 U.S.C. § 2241

(ECF No. 1.) By.letter dated September 9, 2022, the Court informed Petitioner that his

submission was.(jieficient as he failed to pay the Court's filing fee or to submit an application to
proceed informa pauperis.("IFP")(ECF No. 2.) Petitioner was instructed that in order to

proceed, he must within 14 days pay the filing fee or fill out the IFP application which was

annexed to the Court's letter.(Id.) On September 23, 2002, Petitioner submitted a letter asking
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for an extension^f time to comply with the Court's directive. Accordingly, Petitioner is grantee

an extension of time until October 12, 2022, to pay the $5.00 filing fee' or to file a request to

proceed IFP, or.the action will be dismissed. The Clerk of Court is directed to include an IFP

application with this Order and to note the mailing on the docket.

        SO ORDERED.



                                                              /s/ Eric Komitee
                                                             ERIC KOMITEE
                                                             United States District Judge

Brooklyn, New York
September 28, 2022

'As Petitioner filed a 28 U.S.C. § 2241 petition, the filing fee is $5.00 not $402.00 as erroneously statei
in the Court's September 9, 2022 letter. Petitioner is infonned that a Prison Litigation Reform Act
("PLRA")authorisation form is not required for a § 2241 petition.
